Case 1:13-mc-00306-RGA         Document 28      Filed 06/26/14     Page 1 of 1 PageID #: 1006



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


VICTOR MIKHALYOVICH PINCHUK,



              Plaintiff,

      V.                                                  No. 13-mc-306-RGA

CHEMS TAR          PRODUCTS          LLC,

DEMETER DIVERSIFIED LLC, AND

EMPIRE CHEMICAL LLC
                                                                                                I(
              Defendants.
                                                                                                I
                                                                                                t
                                           ORDER
                                                                                                )
      Having reviewed the relevant papers, for the reasons stated in the accompanying

Memorandum Opinion, IT IS ORDERED:



      The Respondents' Motion to Vacate or Quash (D.I. 14) is GRANTED. To the extent the

Subpoenas seek the production of documents from Cyprus, they are QUASHED.
                                                                 ~
                                                  Entered this~ day of June, 2014.
